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JUN 2 2 2015
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS David J. Bradley, Clerk
McALLEN DIVISION a

Civil No. M- 15-280

Crim. No. M-07/7-144
Judge Crane

MARIANO ALVAREZ,
Petitioner,

UNITED STATES OF AMERICA,

Respondent. MOTION TO VACATE

CONVIGTION AND
SENTENCE UNDER 28
USC SECTION 2255

Ne Ne et ae et ee ee See Se ee”

Now comes Mariano Alvarez (hereinafter '"Petitioner"), acting

in pro per, and hereby moves to vacate his conviction and sentence

under 28 USC Section 2255, which provides:

"A prisoner in custody under sentence of a court
established by Act of Congress claiming the right

to be released upon the ground that the sentence was
imposed in violation of the Constitution or laws of
the United States...may move the court which imposed

the sentence to vacate, set aside or correct the
sentence."

A brief in support of said motion is attached hereto and

incorporated herein by reference.

Respectfully submitted,
J L / Bove ANhe~
Mariano Alvare2 <7
Reg. No. 94625-179

Petitioner in pro per
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BRIEF

 

On July 28, 2008, Petitioner was charged in a superseding
indictment in Count One with engaging with a drug trafficking
conspiracy beginning in January of 2005, and continuing until
February of 2007, with co-defendants Eden Flores, Sr., Isauro
Casas, Anwar DeLuna, Eduardo Guerra, Guadalupe Hernandez, and

Abraham Hernandez, in violation of 21 USC Sections 841(a),
1/
841(b)(1)(A), and 846. (R. 55). In Count Two, Petitioner was

charged with a money laundering conspiracy, during the same time
period, with Eden Florez, Sr., Isauro Casas, Jose Luis Villarreal,
and Felix Alvarez, in violation of 18 USC Sections 1956(a)(1)(A)(I)
and 2. Id. In addition to the conspiracies alleged, Petitioner

was charged substantively as follows:

Count Three: April 21, 2005, money laundering by
. delivery of $279,995 in drug proceeds,

in violation of 18 USC Sections 1956(a)(1)(A)(1)
and 2.

Count Five: January 13, 2006, money laundering by
delivery of. $2 million in drug proceeds,

in violation of 18 USC Sections 1956(a)(1)(A)(I)
and 2.

Count Six: February 21, 2006, possession of 217 kilos
of cocaine with intent to distribute, in
violation of 18 USC Section 841(a)(1) and
841(b)(1)(A), and 18 USC Section 2.

Count Seven: May 13, 2006, money laundering by delivery
of $35,000 in drug proceeds, in violation
of 18 USC Sections 1956(a)(1)(A)(I) and 2.

I7 "R™ stands for record. Also, because there were two trials
in this case, Petitioner will cite to the trial, the day of the

trial, and the page as, e.g.—for the first trial, (1 T.R., Ist
day, Pp.); for the second trial, (2 T.R., ist Day, P.).
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Count Eight: July 13, 2006, money laundering by
delivery of $413,000 in drug proceeds,

in violation of 18 USC Sections 1956(a)(1)(A)(1)
and 2.

Petitioner pleaded not guilty to the charges, and his
trial commenced on November 5, 2008, (1 T.R., Voir Dire, 3),
before this Court in McAllen, Texas. Petitioner's trial concluded
on December 8, 2008, when this Court declared a mistrial. (1 T.-R.,
19th Day, 8.) Sua sponte, this Court transferred the case to
the Houston Division for retrial. Id. The second trial began
on July 6, 2009, (2 Voir Dire, 4), and concluded on July 21,
2009, when the jury ‘found Petitioner guilty of Counts One, Two,
Three, Five and Six, and not guilty of Counts Seven and Eight.
(CR. 711).

On December 2, 2009, this Court sentenced Petitioner on
€ounts One and Six to concurrent terms of life imprisonment.
(R. 729). This Court also sentenced Petitioner on Counts Two,
Three, and Five to concurrent terms of twenty years confinement.
id. Petitioner was additionally ordered to pay $500 in
mandatory assessments in aid of crime victims, pursuant to
18 USC Section 3013. Petitioner appealed his conviction and on
April 8, 2014 his conviction was affirmed. (Exhibit A).
Petitioner did not move for certiorari.

The facts of this case are as follows: Eden Flores, Sr.,
and Petitioner were friends. (2 T.R., ist Day, 239). Eden

Flores owned several businesses in Mission, Texas—The La Tejana
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Steakhouse, La Tejana Meat Market No. 1, and La Tejana Meat
Market No. 2. Id., 214-215. (2 T.R., Day 2, 313). Petitioner
and Flores frequently socialized, and would often have lunch
together at Flores's steakhouse. (2 T.R., 1st Day, 194). Flores”
also owned a residence in Mission, Texas, which he leased to
Isauro Casas. (2 T.R., 4th Day, 25-6). Casas worked for Mr.
Flores at one of the meat markets. (2 T.R., 6th Day, 154).

Petitioner owned a working ranch in Rio Grande City, on
Alvarez Road, which had been in the family for generarations.

(2 T.R., lst Day, 223). Petitioner also owned a construction
company, and was a hands-on worker on both the ranch and on
construction jobs. Id. 223-225, 225, 266, 281. The construction
company was a legitimate business, and the work was steady—
operating Mondays through Saturdays. Id., 226, 266. As part

of his construction business, Petitioner had hundreds of
thousands of dollars in equipment, and sold heavy equipment

in San Antonio. Id., 279-80.

Victor Garcia—Petitioner's cousin—testified for the
government after it dismissed a drug trafficking case pending
against him. Id., 244-48, 250-52. In 1989 and 1990, Garcia
worked at Petitioner's ranch doing ranch and yard work. Id., 165.
At some point, Garcia was paid $100 a night, two to three times
a month, to watch bundles of marijuana stored at the ranch.

Id., 166, 172-73. In 1995, Garcia went to prison for possession

of marihuana unrelated to Petitioner. Id., 174. Garcia was
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released from prison in 2005, and returned to work at Petitioner's

ranch, performing manual labor. Id., 1/75. Again at a later
occasion, Garcia was paid to watch marihuana and cocaine stored
on the property. Id., 17/7.

According to Garcia, Petitioner maintained his records in
a planner which he always kept with him, and where he kept track
of money spent, payroll, and other expenses. Id., 196, 205, 212.

Petitioner used a numeric code system for names, law enforcement

agencies, drugs. Id., 196. - Petitioner used codes for everything,
including legitimate businesses. Id. 196, 239. Garcia was "82",
Manuel Acevedo was "21", and Petitioner was "71." The code for

local police was "48", the code for DPS was "67", and the code

for Border Patrol was "50."" Id., 196-98. The code for cocaine

was "37", the code for marihuana was "54", and the code for
money was "25." Id., 199, 263-64. The code for Wal-Mart was

"14."  Id., 196. Codes were used in case someone was

eavesdropping. Id., 198.

On April 21, 2005, Petitioner, Victor Garcia, and Manuel
Acevedo were pulled over for a traffic violation by Freer Police
Officer Nicholas Juarez. ie T.R., 1st Day, 63, 73, 165, 179).
Juarez stopped Petitioner for a defective bulb over the license
plate. Id., 62, 101, 186. At the stop, Petitioner informed
Juarez that he was returning to Rio Grande City after selling
a front-end loader and a trailer in San Antonio. Id. Petitioner

informed Juarez that they had not spent the night in San Antonio.
 

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Juarez noticed that Petitioner was wearing a black utility
belt—which was likely uncomfortable during a long drive—and
saw luggage inside the vehicle, inconsistent with a day trip.
Id., 69-70, 72. These circumstances aroused Juarez's suspicions.
Id. Juarez issued Petitioner a warning citation for the traffic
violation, then asked for, and received, Petitioner's consent
to search the vehicle. Id. at 71-2. At the rear of the truck,
Juarez observed pry and dent marks on the spare tire around the
rim, and fresh scrapes on the undercarriage. Id., 74.
Petitioner explained that he'd had a flat tire earlier in the
day, and had lowered the tire to change it. Id. at 75-6.

Juarez asked permission to examine the tire, itself, and ©:
Petitioner provided him with a tire tool to remove it. Id., 76.
A piece of the tire tool was missing, however, and Juarez was
unable to lower it. Id. at 78. At Juarez's request, Pétitioner
followed him to a tire shop. Id., 79. Juarez called a drug
Task Force Officer to meet him at the shop, and the tire was
examined with a density meter. Id. at 81. Another officer
arrived with the correct tool, and the tire was opened. Id., 82,
84. Inside, officers found $279,995 in currency, bundled in
cellophane, and vacuum sealed. Id., 130. In an inventory
search of the truck, officers recovered two receipts from

Dallas dated April 20 and 21, 2005. (2 T.R., 1st Day 92-4, 121;

2 T-R., 2nd Day, 15-7; 35). One was from a Home Depot; the
oe

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other was from a Red Lobster restaurant. Id., 93-4, 122-23.
Petitioner was questioned by DPS Lieutenant Ronald Saenz.
(2 T.R., 2nd Day, 46). Petitioner informed Saenz that he had
sold a backhoe, two flatbed trailers, four dump trucks, a John
Deere tractor, and a loader in San Antonio. Id., 46-8.
Petitioner put the money from the sales into the tire. Id., 48.
Petitioner told Saenz that he didn't care if they took the
money. Id., 50.
Victor Garcia testified that he accompanied Petitioner on
this trip, first driving a dump truck to San Antonio to deliver
to a buyer. (2 T.R., ist Day, 179). It was Garcia's understanding
that they were to pick up money from the sale in San Antonio.
Id., 180, 234. The money was not in San Antonio, however, but
in Dallas. Id., 180, 235. Garcia, Petitioner, and Acevedo
traveled to Dallas from there. Id.
The three ate dinner at a Red Lobster restaurant in Dallas
on the night of April 20, 2005. Id., 181. The following day,
they picked up the money at a house. Id. The spare tire was
removed from Petitioner's truck, the money was placed in the
spare, and the spare was put back on the truck. Id., 183.
It had been necessary to deflate the tire to put the money
inside, and Petitioner purchased an air compressor at a Home
Depot to air the tire up so that it would look normal on the
vehicle. Id.

, 182-83. The money was hidden in the tire to

avoid getting robbed, and Garcia believed that the money came
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from the sale of equipment. Id., 181, 236. On the drive back,
Petitioner instructed Garcia and Acevedo to get rid of everything
in the truck pertaining to Dallas in case they were pulled over.
Id., 186. In addition to disposing of items they had on

them, Acevedo threw out the key to the tire tool so that it

would be harder to remove the spare. Id., 188. The three

drove through San Antonio on their way back to Rio Grande City.
Id., 185.

The government offered no direct evidence that the $279,995
was proceeds from drug trafficking.

In January of 2006, Houston DEA was investigating an unknown
drug trafficking cell. (2 T.R., 2nd Day, 124). In the
investigation, DEA learned that two million dollars in drug
proceeds were in Atlanta, Georgia, awaiting pickup for transport
to Texas. Id., 111, 136. DEA Agent Prentice Coleman had a
confidential source, who put out on the street that he could
transport money safely throughout the United States in armored
cars. Id. Coleman and two ICE Agents from>Houston traveled
to Atlanta to coordinate the money transfer there. Id. 137.

In Atlanta, DEA Agent Julio Alba, working undercover, was
introduced to Jose Luis Villareal, called "Canas", as someone
who could transport the money. Id., 112, 114. Alba and
Villareal first met at a Waffle House on January 14, 2006; the

following day, Villareal transferred to Alba two duffle bags

containing the currency for transport to Texas. Id., 113-14, 116.
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From Atlanta, the currency was flown to Houston in a DEA
airplane. Id., 138. There, the money was examined by a

canine unit, and the dog positively alerted to the presence of
2/

cocaine. id., 138. From Houston, DEA flew the money to
McAllen where it was to be turned back over to Villareal in a

vehicle DEA provided. Id., 138-39. According to Coleman, the

purpose of the investigation was to follow the money to see
where it was going, and to identify the source of supply. Id.
137, 139, 142. In Coleman's view, the money was destined for

the source of supply, and would likely be reinvested in the

Mexican drug trade. Id., 142, 149.

The currency transfer to Villareal took place on January

18, 2006, at a Logan's Roadhouse Restaurant in Mission, Texas.

Iid., 152-55. ICE Agent Yolanda Ibarra, working undercover, met

Villareal at the restaurant, and provided him with the keys to

a white minivan, loaded with the currency. Id., 152-55. Once

the money was delivered, Villareal was to return the minivan
to the restaurant. Id., 139-40, 153-56. Agents followed
Villareal in the minivan to a residence in Mission, Texas, both

by air and on the ground. Id., 140. The residence was later

2/ According to Georgia Police Sergeant T.K. Gordon, assigned
to°the drug Task Force, Villarreal was followed in Atlanta to
two residences. Id., 125. During subsequent surveillance of
these residences, officers observed significant interactions
among the people, suggesting drug-related meetings. Id., 126.
“After Villarreal moved the money from one of the residences, a

traffic stop of one of the residents was made, and drugs were
seized. Id., 126-127.
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identified as the home of Isauro Casas, though Eden Flores

owned the property. (2 T.R., 4th Day, 169-70).

DEA Agent John Hernandez followed the minivan in a spotter
plane. Id., 288. From there, Hernandez saw Villareal get into
the white minivan at the restaurant, then follow a red pickup

truck to the property in Mission, where the money was delivered.

Id., 292-93. When Villareal entered the property, he was guided

to the back of the residence. Id., 294. Hernandez observed
Villareal get out of the minivan, and saw the back of the
minivan opened. Id. Villareal went inside the residence. Id.,
295. Hernandez observed another vehicle enter the property,
which looked like an Avalanche, and saw an individual get out

of that vehicle and walk to the back where the money was
off-loaded. Id., 295. About fifteen minutes later, Villareal
left in the minivan, returned it to Logan's Roadhouse, then got
into the red pickup Hernandez had seen earlier. Id., 296-98.
A black Avalanche was parked in the Logan's lot by the time

Villareal returned. Id. at 298. Ground surveillance obtained

the plate number, and the Avalanche was registered to Petitioner

and his wife. Id., 298-99.

Hernandez saw three individuals get out of the red pickup
and walk toward the entrance of a nearby Red Lobster restaurant.
Id., 299. Two of the individuals went into the restaurant,

while the other walked over to the Avalanche and got into the

passenger seat. Id. After a short time, the Avalanche was

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followed to the La Tejana Steakhouse in Mission, Texas. Id.,

300-01. The individual in the Avalanche got out, and entered
the restaurant through the bar. id.
3/

then discontinued.

, 301. Surveillance was

Hugo Barrera-Cavazos, and Reynaldo Oyervides, testified
to their involvement in the $2 million currency transportation,
from the Mexican side. Barrera was partners with Raul
Valladares in a drug cartel, operating out of Monterrey, Mexico,
and importing cocaine directly from Colombia. (2 T.R., 5th Day,
170). Barrera estimated that, in the course of this partnership,
they imported over 10,000 pounds of cocaine. Id., 171. Beginning
in 2000, up to 2002 or early 2003, Barrera and Valladares worked
directly with YaYa Lopez. Id., 135. Lopez controlled the Plaza
in Miguel Aleman, Mexico, and cocaine could not pass into the
United States through the Plaza unless Lopez was paid for
passage. Id. According to Barrera, Lopez was Petitioner's
boss. Id. An individual identified as "El Tio'' also worked
for Lopez, transporting cocaine from Monterrey to the border
for transit into the United States. Id., 161-62.

In 2002 or early 2003, Lopez was killed in Guadalajara.
Id., 142. Approximately six months later, Lopez's godson,
Juan Guerra, introduced Barrera to Petitioner at a Red Lobster

restaurant in McAllen. Id-., 142. It was there agreed that

3/ Governement's Exhibit 35A, Petitioner's planner seized by
law enforcement at the time of his arrest, contained a notation
for June 18th—the day of the controlled delivery—which stated,
"Tejana 20 lunch." (Id. at 303; T.R., 4th Day, 55).

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Petitioner would move drugs from Miguel Aleman to McAllen, for
transport on to New York and Atlanta. Id. At some point,
Petitioner informed Barrera that El Tio was working for hin,
bringing cocaine to Petitioner at the border, and taking money
from the sales back to Valladares. Id., 163-64. Barrera
believed that, in the course of this relationship, Petitioner
was” provided with 200 kilos of cocaine on six occasions, at
a cost to Petitioner of $1,250 per kilo. Id., 143.

Turning to the events in January 2006, Barrera testified
that Valladares was in the United States where his daughter
was hospitalized. Id., 153. Valladares needed money to pay the
hospital bill, and instructed Barrera to arrange for the pickup
of drug proceeds in Atlanta. Id. The money was to be dropped
off with "El Palone"’—the money man in Monterrey—who would pay
Valladares 5%. Id., 153-54. Though Valladares wanted the money
delivered to Laredo, Barrera wanted to see if Petitioner could
receive the money in McAllen. Id., 155, 158. Barrera did not
deal with Petitioner directly on this matter; instead Valladares
directed Oyervides to make the arrangements. Id., 156, 158-59.
According to Barrera, Valladares trusted Jose Luis Villareal
to handle the transportation of money. Id., 157. It was
Barrera's understanding that the money was delivered. Id., 156,
£60. |

Reynaldo Oyervides, called "Super", worked for Barrera

and Valladares as a bookkeeper, and was responsible for

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entering information into a computer regarding drug transactions

as directed by Valladares. Id., 152. Oyervides also collected

money from Petitioner after each of the six jobs. Id., 151-2,
156. As part of his responsibilities, Oyervides met with
Petitioner every two months or so to go over his accounts with

Valladares and Barrera. Id., 2//7-81.

Regarding the $2 million money shipment, Oyervides was
instructed by Valladares to meet Villareal in McAllen where
Villareal was supposed to receive "a check" (cash) from
Petitioner. Id., 281-82. On January 18, 2006, Oyervides met
Villareal at a Logan's restaurant in a mall plaza. Id., 282-83.
Oyervides was accompaned by Pepe Origel, called "kilos", and
was driving a red pickup truck. Id., 283. Earlier that day,
Petitioner had driven Oyervides to the drop off location in a
black Avalanche. Id., 284. That night, Villareal was in a
small white car. Id.

From Logan's, Oyervides led Villareal to the drop off
location. Id. After the delivery, Oyervides met up with
Petitioner at the same mall. Id., 285. Petitioner was in the
Black Avalanche, and Oyervides got into the car with him, and
the two spoke for ten to fifteen minutes. Id.; (2-T.R., 6th Day,
14). According to Oyervides, Petitioner's sole role was to
receive the $2 million from Atlanta. (2 T.R., 6th Day, 15).

From there, the money was to go to Mexico, and a day or two

later, Petitioner informed Oyervides that the money had been

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delivered. Id.

, 16.

Pursuant to a cooperation agreement with the government,
Jose Luis Villareal testified that he collected money for
Valladares, and took his orders from him. (2 T.R., 8th Day,
146-47). Generally, Villareal would pick up a car loaded with
money and transport it to Valladares. Id. In January of 2006,
Valladares instructed Villareal to make a money pickup in
Atlanta. Id., 148. Villareal traveled to Atlanta and, ‘there,
met undercover agent Julio Alba. Id., 148-50. Villareal
hired Alba to drive the money to McAllen. Id. Villareal took
delivery of the money once it arrived in Texas, and was provided
the keys at a Logan's Restaurant. Id., 152. From the
restaurant, Villareal followed Oyervides to the drop-off location.
id., 153. The money was removed from the minivan, and was
counted inside the house by a person unknown to Villareal. Id.,
154-56. While the money wsa being counted, another person
arrived. Id., 156. After the money was counted, Villareal
returned to Logan's Roadhouse, and dropped off the minivan with
the keys inside. Id., 156-57. Oyervides picked up Villareal,
and he and Kilos went into a Red Lobster to eat. Id., 157.
Before going into the restaurant, Villareal saw Oyervides walk
over to someone in a black Avalanche. Id., 157-58. Villareal
had seen the black Avalanche earlier, at the place where the
money was counted. id.

, 158.

After the $2 million money shipment, an agent sought

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authorization for wiretaps under Title III. (2 T.R., 2nd Day,
303). Wiretaps were authorized to intercept calls from Eden
Flores, Sr.'s Sprint phone, and from Isauro Casas's Boost prepaid
phone. Id., 304. Later, DEA intercepted calls from Petitioner's
telephone number, and from a telephone number of his brother,
Felix Alvarez. Id. Through the intercepts, and surveillance,
agents were able to identify various individuals, including
Gaudalupe and Abraham Hernandez. Id., 304-05.

The intercepts began on February 16, 2006. Id., 309.
Based on intercepted calls on February 20, 2006, surveillance
was set up the following day. Id., 311. Early the morning
of February 21st, surveillance was established at the residence
of Eden Flores, Sr., and at the home of Isauro Casas, where the
$2 million had been delivered on January 18th. Id. Casas was
followed to La Tejana Meat Market No. 1. Id. Flores left his

house, and traveled to the meat market. Id., 312. After a

few minutes, Flores left, and was followed by surveillance to

Rio Grande City. Id., 312. Casas was observed traveling behind
Flores. Id., 316. Casas turned onto Alvarez Road, and Flores
positioned himself nearby. Id. Fearing counter-surveillance,

Casas was not followed down Alvarez Road, but agents waited

for him to return. Id. Casas—followed by Flores—traveled

back toward Mission. Id., 317. Around La Joya, Hernandez asked

local officers to conduct a traffic stop of Casas. Id. Nothing

was found, and Casas was issued a warning citation. Id.

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After Casas was released, he returned to his home. Id.,
318. Hernandez then observed an AOC commercial truck pull into
the property. Id., 320. Flores soon arrived. Id. The AOC
vehicle left Casas's property, and was followed to La Tejana
Meat Market No. 1. Id. Flores's vehicle left, and was followed
to La Tejana Meat Market No. 2. Id. Flores then traveled to
the La Plaza Mall in McAllen. Id., 323. Flores parked near
a white pickup truck, and a white SUV. Id. An individual was
standing between the two white trucks. Id. Flores soon drove
back to Casas's residence. Id., 324. |
| Surveillance officers saw a white SUV arrive at Casas's
residence. Id. Officers saw duffle bags loaded into the SUV.
id. Flores left Casas's residence, followed by the SUV. Id., 324-25. Near
the McAllen City limits, a Mission Police Officer conducted a traffic stop of
the SUV. Id., 325; (2 T.R., 3rd Day, 9). Inside the duffle bags,
law enforcement found 217 kilograms of cocaine. Id., 9. Flores
returned to La Tejana Meat Market No. 2. Id., 11. Hernandez
observed two individuals in Flores's vehicle. Id., 13. At the
meat market, the passenger got out, and Hernandez indentified him
as Petitioner. Id., 13-14.

Based on information from the wiretaps, surveillance was
re-established on Flores. Id., 15. Flores returned to Casas's
residence, then left with two tanks in back of his truck. Id.,
16. The trucks were followed to Carla's Beauty Salon, and a

search warrant was executed there. Id., 16-17. Five tanks were

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recovered. Id., 17. Each of the tanks had been modified with
openings at the bottom. Id.

The government played numerous intercepted calls.” In
a call intercepted on February 20, 2006, a reference was made
to "El Feo", to see if he was working. Id., 36. In another
call on February 20, 2006, Flores instructed Casas to get
"El Feo" ready for tomorrow. Id., 39-41. On the date of the
seizure, calls between Flores and Casas, and Flores and Petitioner,
were intercepted and pertained to events as they were on-going.
Id., 43-4, 52-3, 55-60, 65, 67, 71, 73-5, 81. There were a
number of intercepted calls after Casas was arrested. Flores
also called Abraham Hernandez to advise him of Casas's arrest,
and instructed him not to make any calls to Casas's phone. Id., 112, 115.
Flores hada similar call with Negrete. Id., 117-18.

After the seizure, there were numerous intercepted calls
between Flores and Abraham Hernandez, and Flores and Guadalupe
Hernandez, monitoring Casas's case. Id., 126, 128-29, 131,

133, 135, 145, 149-51, 164.
In a call to Abraham Hernandez, Flores referred to "the

browns,'' and "little boxes" which go ''from house to house."

Id., 136. Abraham advised Flores that he needed to call a

4/ Nearly all the calls were in Spanish language, and the

overnment provided translations to the jury, but only as aids.
O T.R., 3rd Day, 26-30, 32). They were not admitted in
evidence. Id.

5/ "El Feo" was later identified.as Mark Antonio Negrete.
Id., 41.

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friend, and Flores instructed Abraham to have it ready. Id.,

137. This call—and others—referenced an alternative method
of shipping cocaine to customers, via UPS. Id., 139-42, 153-54,
160. There were a number of calls between Flores and Petitioner

regarding $35,000 later seized from Flores' vehicle. Id.
168-72, 174-75.

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Residential searches at the homes of Casas, Flores,
Petitioner, and Abraham Hernandez yielded documents, records,
and firearms. (2 T.R., 3rd Day, 134-35; 2 T.R., 4th Day, 25-41,
28-34, 36-42, 44-50, 53-59, 61, 68-74; 2 T.R., 5th Day, 262-63,
266-68). The government called numerous law enforcement
witnesses who participated in the various stops, arrests, and
searches in which drugs, money, and firearms were seized.

(2 T.R., 5th Day, 92-110, 206-233, 239-40; 2 T.R., 6th Day,
105-119; 2 T.R., 7th Day, 9-17, 236-243, 265, 289; 2 T.R., 8th
Day, 11-17). .

Cooperating witnesses added meat to the bone. Victor
Garcia learned from Petitioner that oxygen tanks were being
modified to transport cocaine. (2 T-R., Ist Day, 189-190).
Garcia saw an AOC truck at the Alvarez property on two occasions,
each time followed by Flores's gold dually. Id., 194. On one
occasion, Garcia helped load cocaine into the bottom of a tank.
Id., 189, 238, 274.

Marco Antonio Negrete ("El Feo") described his role in

transporting cocaine in oxygen tanks. (2 T.R., 6th Day, 204-05).

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Negrete worked at AOC, and was solicited to transport cocaine
in tanks by Abraham Hernandez. Id., 154. Negrete also worked
with Flores, Casas, and Guadalupe Hernandez in this endeavor.
Negrete also participated in the UPS shipments. Id., 157. In
concert with Guadalupe and Abraham, and Flores, Negrete dropped
off boxes filled with marihuana and cocaine at a UPS drop box.
Id. Negrete was paid $300 to $400 on each occasion. Id., 157.
Negrete recalled picking up oxygen tanks on two occasions.
Id., 167. On the first occasion, Negrete followed Flores to
the location where two tanks were loaded and ready. Id. On
the second occasion, Negrete picked up the tanks at an old
house. Id., 168. Each time, Negrete dropped the tanks off
at Casas's house. Id., 168. Negrete'’s second and last delivery
was on February 21, 2006. Id., 169. After Negrete dropped off
the tanks at Casas's house, he did not hear from him again.
In intercepted calls, Flores told Negrete that Casas had been
arrested, not to talk if approached, and not to call Casas.
Id., 174-75, 178.
Despite the arrest of Casas, Negrete, Flores, and the
Hernandez brothers continued shipping drugs by UPS. Id., 179-82.
The packages were shipped to Lubbock, Dallas, and California,

6/
and Negrete was paid $400 for each drop off. Id., 181-82.

6/ In a later search of Flores's residence, a UPS label and a
tracking slip, were recovered from a chair in the dining room,
addressed to an individual in Lubbock. (2 T.R., 5th Day, 266-68).

On arrest, Guadalupe Hernandez admitted that he provided the UPS
labels. Id., 257, 264.

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Negrete also picked up money for Flores at Abraham's request.
Id., 186-94.

Petitioner now moves for relief under 28 USC Section 2255,
arguing that he was denied his Sixth Amendment right to have

effective assistance of counsel for his defense.

I. PETITIONER HAD INEFFECTIVE ASSISTANCE OF COUNSEL
FOR HIS DEFENSE.

A. Counsel was ineffective for failing to object
to the district court's declaration of a
mistrial.

The United States Constitution guarantees that a defendant
in a criminal case is entitled to have effective assistance of
counsel. Glasser v. United States, 315 U.S. 60 (1942); McMann
v. Richardson, 397 U.S..759, 771 n. 14 (1970)(Sixth Amendment
right to counsel is right to effective assistance of counsel).

A defendant alleging ineffective assistance of counsel must
show that counsel's performance was deficient and that prejudice
resulted therefrom. Strickland v. Washington, 466 U.S. 668,

687 (1984). In ineffective assistance of counsel claims, the
defendant need only show “a reasonable probability that, but

for counsel's unprofessional errors, the result of the proceedings
would have been different."’ Strickland at 694. A reasonable
probability is one "sufficient to undermine confidence in the
outcome." Id. Where the deficiencies in counsel's performance

are severe and cannot be characterized as the product of

Strategic judgment, ineffectiveness may be clear. United States

v. Gray, 878 F.2d 702, 711 (3d Cir. 1989); Ward v. United States,

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995 F.2d 1337 (6th Cir. 1993); Workman v. Tate, 957 F.2d 1339,
1344-45 (6th Cir. 1992).

The jury in Petitioner's first trial began deliberating
on November 24, 2008. (1 T.R., 11th Day, 156). On December 8,
2008, the Court declared a mistrial on the ground of "manifest
necessity.'"' (1 T.R., 19th Day, 8).

In the course of their deliberations, the jury communicated
with the Court in a series of jury notes. (Exhibit B). Four
of the notes pertained to scheduling and other matters of a
housekeeping mature. (Exhibit B, Jury Notes 8, 13, 15, 17, and
19). In the remaining notes, the jury asked substantive questions,
or requested materials and technical assistance in aid of
their deliberations. The following is a summary of the jury's
notes, and this Court's responses:

Jury Note 1: (11-24-08, 2:36 p.m.).

Jury asked for a status of the exhibits. —

Jury Note 2: (11-24-08, 4:56 p.m.).

"The jury has not reached any agreement on any of

the multiple counts. We request to be released for the

day to return tomorrow. Thank you.

Jury Note 3: (11-25-08, 8:15 a.m.).

The jury requested a room with a large chalkboard

or a dry erase board. The jury also requested that they

be provided with the equipment to play the evidence, "CD's,
wiretaps, etc."

The Court did not respond in writing to Notes 2 and 3, but
advised the parties that the jury's requests were granted. (1 T.R.,

12th Day, 4). The jury was provided with the supplies they

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requested, and were released early. Id.
Jury Note 4: (11-25-08, 9:45 a.m.).

"Do we have to have a unanimous decision 12-0 in order
to have a verdict? (On every count).

In a written response, the Court informed the jury that
whether guilty or not guilty, it must return a unanimous verdict
on each count of the indictment. The Court asked the jury to
attempt to reach a verdict as to each defendant on which it
could unanimously agree. (1 T.R., 12th Day, 3-4). (Exhibit C).

Jury Note 5: (11-25-08, 12:01 p.m.).

"The attached CD Govt's Exhibit 25C does not want to
play on computer. We have attempted to troubleshoot."

Jury Note 6: (11-25-08, 1:47 p.m.).

"We cannot play contents of attached CD (calls played

in trial). We also would like confirmation that we cannot
have access to call transcripts."

(Exhibit B). The Court advised the jury that the tape recordings
could be played back, with the transcription aids, if the jury
would inform the Court which specific calls it wished to hear.
(1 T.R., 12th Day, 5-6). (Exhibit C). The Court advised the
parties that IT had been sent in to resolve the computer problem.
(1 T-R., 12th Day, 7).
Jury Note 7: (11-25-08, 2:11 p.m.).
The jury asked to listen to the conversations between

Eden Flores and Mariano Alvarez, and between Eden Flores

and Abraham Hernandez, and asked the Court for the
transcripts.

(Exhibit B). The Court asked the jury whether they still wished

to have specific calls played back with the transcripts as aids.

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(1 T.R., 13th Day, 5-6). (Exhibit C). Pursuant to the jury's
request, the prosecutor pulled the transcripts of the calls
requested to be ready for playing the following day. (1 T.-R.,
12th Day, 20-1).

Jury Note 9: (11-25-08, 3:24 p.m.).
The jury requested the definition of “launder/laundering"
as it related to the case. The jury advised the court that
it attempted to find the definition in the jury charge but
was unsuccessful.
(Exhibit B). The Court responded to Jury Note 9 in writing,
and defined laundering of monetary instruments as "knowingly
using the proceeds of certain illegal activity to promote the .
carrying on of that activity." (1 T-R., Day 13, 3). (Exhibit C).
The Court directed the jury to the definition of the term in
Counts Three, Five, Seven and Eight. Id.

Jury Note 10: (11-26-08, 8:49 a.m.).

The jury requested the password to unlock the
computer so that they could play back the evidence. The
jury requested a more concise definition of aiding and

abetting, and "dominion" in the possession instruction
on page 7.

(Exhibit B). In a written response, the Court instructed the
jury that "dominion" had its ordinary meaning and "simply means
"control'" as stated on page 7 of the charge. (1 T-R., Day 13,
7-9) (Exhibit C).

Though we cannot find Jury Note 11 in the Clerk's Record,
the Court refers to it in conjunction with Jury Note 12.

Jury Note 12: (11-26-08, (no time)).

The jury requested the testimony of Sgt. Juan Hernandez,

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and Marco Negrete, including “all cross, re-direct, etc..."
(Exhibit B). In response to Jury Notes 11 and 12, the Court
called the jury into the courtroom, and a number of intercepted
calls were played. (1 T.R., 14th Day, 13-5).

Jury Note 14: (12-1-08, 11:42 a.m.).

The jury asked the court to replay, or produce,

Specific question and answers: 1) Mr. Ramirez's question

to Victor Garcia if he were a habitual offender (looking

for answer); 2) Mr. Salazar asking IRS Agent Vogus (sic)

if she found any evidence of money laundering regarding

Eden F. or Mariano A. (looking for answer); 3) Mr. Vega

asking M. Negrete if the Hernandez brothers were involved

with the 217 kg seizure (looking for answer); and 4) Mr.

Vega asking Sgt. Juan Hernandez if the Hernandez brothers

are involved with the 217 kilo seizure (looking for answer).
(Exhibit B). In response to the note, the Court brought the
jury into the courtroom and played the portions requested.
(1 T.R., 14th Day, 19-22).

Jury Note 16: (12-1-08, 1:47 p.m.).

"We cannot agree on a unanimous verdict. Plaease advise."

(Exhibit B). The Court advised the parties that it wasn't going
to give an Allen charge, but was going to give the jury a nudge.
(1 T.R., 14th Day, 21). In a written response, the Court asked
the jury to continue deliberating in an effort to agree upon a
verdict. (Exhibit C). The Court asked the jury to consider
that the trial lasted two weeks, and that they had been
deliberating for three days. Id. The Court explained that it
was not unusual for deliberations to take much longer. Id. The

Court asked the jury to continue to deliberate in an effort to

reach a unanimous verdict. Id.

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Jury Note 18: (12-2-08, 9:56 a.m.).
The jury requested a new set of black and red markers.
Jury Note 20: (12-3-08, 10:30 a.m.).

The jury asked the court to provide the person to
unlock the computer—needed the password again. The
jury requested new pads of paper for their easels, and
new markers because the ones provided were not conducive
to handwriting "(and we are doing a lot of this)."

(Exhibit B). The Court advised the parties that the jury's
requests had been met. (1 T.R., 16th Day, 3).
Jury Note 21: (12-3-08, 2:17 p.m.).

The jury requested the password for the second computer
since they couldn't play a CD on the first computer.

Jury Note 22: (12-4-08, 9:34 a.m.).
The jury asked that both of the laptops be unlocked.
(Exhibit B). The Court met the jury's requests. (1 T.R., 17th
Day, 3). |
Jury Note 23: (12-4-08, 11:43 a.m.).

The jury requested the transcript for phone number
909-770-9260-55. The jury wanted to know who was the
subscriber on this telephone, and wanted clarification
of the speakers. The jury had either Eden and Isauro
or Eden and an unidentified male as the speakers.

(Exhibit B). The Court brought the jury into the courtroom and
played the relevant recordings. (1 T-.R., 17th Day, 9-10).
Jury Note 24: (12~-4-08, 1:53 p.m.).

The jury requested a time line or outline containing

a sequential list of the intercepted telephone calls. The
jury advised that it was having difficulty organizing the
calls, and the computer did not give them dates and times.
The jury informed the court that they had had the opportunity
to listen to the calls, but their notes on dates and times
were not clear on the details. The jury provided an example
of what they were seeking.

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(Exhibit B). In the courtroom, the Court advised the jury that
it could not submit an organizational chart or time line. (1 T.-R.,
17th Day, 9).

Jury Note 25: (12-4-08, 4:34 p.m.).

The jury requested a TV/VCR combo, or cables so that
they could play the VCR tapes on a laptop.

Jury Note 26: (12-5-08, 8:37 a.m.).
The jury asked that a laptop be unlocked.

On Friday, December 5, 2008, right at noon, the jury sent
Jury Note 27: "May the foreperson speak to someone in private
or the jury as a whole re: case." The Court brought the foreperson,
Juror No. 2, into the courtroom to speak privately. (1 T.R., 18th
Day, 4). The foreperson informed the Court that, the day before,
when the group was deliberating about one of the UPS labels, a
juror asked whether a person could get a UPS label by walking
into the store. Id., 5. That morning, the juror reported that
he knew for a fact that anyone could pick up a UPS label at the
store because he had done it. Id. The foreperson stated that
the jury did not like the comment, and felt that it should be
reported. Id.

The Court informed the parties of the problem. Id., 8.
The Court was of the view that the juror should be disqualified
for violating the instructions, and replaced with an alternate.
id. Over the lunch hour, the Court planned to research the issue,
and would contact the alternate juror to determine his status.

Id-, 9. Other alternatives would be to proceed with a jury of 11,

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or declaration of a mistrial if the whole jury was tainted.

Id., 19, 11.

After the recess, Juror No. 6 was questioned by the Court.
Id., 23. The juror related the same information to the Court
as provided by the foreperson. Id. The juror was dismissed.
Id., 29-30. The Court informed the parties that the alternate
juror was available and prepared to report on Monday morning.

id. On Monday, the Court would admonish the jury not to consider
any statements made by Juror Number 6 to see if they could put
the juror's information out of their minds. Id., 26-27. The
Court planned to question the jurors individually. Id., 28.
There were still the options of a mistrial, or proceeding with
a jury of 11. Id., 27. The Court was not inclined to declare
a mistrial on its own. Id.

‘When court reconvened on Monday, December 8, 2008, the
Court solicited the parties' views. (1 T.R., 19th Day, 3-4).
The prosecutor thought the best approach would be to seat the
alternate juror, if qualified. Id. [In this event, the charge
would have to be re-read, and deliberations begun anew. Id., 4.
Both Mr. Salazar and Mr. Ramirez requested that the alternate
juror be seated. Id., 5, 7. Mr. Vega preferred to proceed with
11 jurors. Id. Mr. Harkrider moved for a mistrial. Id.

Without referencing Mr. Harkrider's motion, the Court
declared a mistrial, stating its basis as follows:

I think the jury is—this juror who engaged in misconduct,

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it's just infected the jury and I don't know what other
areas of misconduct, but if—but at least we have

somebody disregards the Court's oath, the jury has been
unable to reach a verdict for two weeks and I just can
read or it's my belief that the jury is confused. I'm
worried that I can't cure what's been done by this juror
in disregarding the juror's instructions, and that the
best—the safest thing to do at this point is simply,

to start the case over and retry the case with a new jury,
clean jury that will follow the Court's instructions.

(1 T.R., 19th Day, 8). (Exhibit D). The Court advised the
parties that the case would be transferred to the Houston
Division for the new trial.

The Double Jeopardy Clause will not preclude a defendant
from being retried after the district court declares a mistrial

over defense objection if the mistrial was justified by "manifest

necessity.” If a defendant consents to a mistrial, the "manifest

necessity” standard is inapplicable and double jeopardy ordinarily
will not bar a reprosecution. See United States v. El-Mezain,

664 F.3d 467, 559 (5th Cir. 2011).

 

This issue was raised on direct appeal. The Fifth Circuit
ruled that Petitioner's counsel failed to object to the district
court's declaration of a mistrial and the manifest necessity
standard did not apply. (Exhibit A). It is Petitioner's
position in this 2255 motion that his counsel provided ineffective
assistance of counsel when he failed to object to the Court
declaring a mistrial. Mr. Ramirez—Petitioner's counsel—requested
that the alternate juror be seated. (1 T.R., 18th Day, 5,7).

When the Court declared the mistrial, counsel did not object.

(1 T.R., 19th Day, 8). (Exhibit D). Thus, Petitioner was twice

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put in jeopardy based on counsel's ineffectiveness.

The Supreme Court has recognized that a defendant has a
"valued right to have his trial completed by a particular
tribunal[,] [which] is now within the constitutional guarantee
against double jeopardy...'"' Crist v. Bretz, 437, U.S. 28, 36

(1978) (quoting United States v. Martin Linen Supply Co-, 430

 

U.S. 564, 569 (1977)). "(T]he defendant has a significant interest
in the decision whether or not to take the case from the jury."
Arizona v. Washington, 434 U.S. 497, 508 (1978)(quoting United
States v. Jorn, 400 U.S. 470 (1971)).

In this case, the Court abused its discretion in finding
that the misconduct of one juror so infected the jury that it
could not be cured. Juror Number 6's independent investigation
of public access to UPS labels, which he conveyed to the
jury, constituted extrinsic information outside the evidence.
Where a colorable showing of extrinsic influence appears, the
trial court must investigate the purported impropriety.

United States v. Sotelo, 97 F.3d 782, 796 (5th Cir. 1996), citing
United States v. Ruggiero, 56 F.3d 647, 652 (5th Cir. 1995).

In such investigations, the key question is whether the intrusion
affected the jury's deliberations and, hence, its verdict. Id.
at 797, citing United States v. Ramos, 71 F.3d 1150, 1154 (5th
Cir. 1995). A court's decision in handling complaints of outside
influence on the jury are reviewed for abuse of discretion.

United States v. Sotelo, 97 F.3d 782, 794, citing United States v-

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Ramos, 71 F.3d 1150, 1153-54 (5th Cir. 1995).

In Sotelo, 97 F.3d at 795-96, the Fifth Circuit upheld
the district court's refusal to grant the defendant's motion
for mistrial where a juror claimed racial animus from her fellow
jurors. In evaluating the issue, the district court brought
the jury into the courtroom, and had the juror state her concerns.
Id. at 796. After concluding that nothing had occurred to
indicate racial bias or prejudice, the court instructed the jury
to continue deliberating, to base their decision on the evidence,
and not to take into account the race or national origin of
any party or any witness in the case. Id. The Fifth Circuit
found the court's techniques not ideal, but its investigation
of the allegation of racial prejudice among the jury adequate.
Id. at 797.

The recent decision in United States v. Diaz, 2012 WL
5910944 (5th Cir. Nov. 27, 2012)(unpublished) is closely on
point. There, during deliberations, the foreman reported that
a juror had conducted independent research on her cell phone,
looking up the legal definition of “assault.” Id. at 6. The
judge conducted an ex parte voir dire of the jury, and advised
them=that even though one juror had conducted outside research,
they were required to confine their deliberations to the court's
instructions. Id. The court dismissed the juror, replaced her
with an alternate juror, and deliberations continued. id.

The court denied Diaz's motion for a mistrial. Id. The Fifth

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Circuit found the protocol followed by the court appropriate.

Id. at 7. The trial court examined "the content of the extrinsic
material, the manner in which it came to the jury's attention,
and the weight of the evidence against the defendant,'' and found
no reasonable possibility that the jury's verdict was influenced
by the juror's improper conduct." Id., citing United States v.
Ruggiero, 56 F.3d 647, 652 (5th Cir. 1995). Under these
circumstances, the court's refusal to grant Diaz's motion for
mistrial was not an abuse of discretion. Id.

Petitioner contends that the extrinsic information regarding
the UPS label was of little importance against the government's
overwhelming evidence in the case. Though the Court originally
planned to question the jury as a whole to determine possible
taint, it chose not to do so, finding instead that the extrinsic
evidence regarding the UPS label was sufficient, in itself, to
taint the jury as a whole. Having failed to follow appropriate
protocol, this Court abused its discretion in granting a mistrial
on the ground of jury taint.

Moreover, the Court's conclusion—that the jury would be
unable to reach a verdict based on the length of their
deliberations—is not supported by the record evidence. Contrary
to this Court's statement, the jury had not been deliberating

7/

for two weeks. Likewise, the record evidence does not support

 

7/ The jury began deliberating on the afternoon of November 24, 2008,
deliberated all of November 25th, and for half a day on November 26th. (1.T-R.,
lith Day, 156, 158; 12th Day, 30; 13th Day, 3, 18). The jury deliberated
Monday, December 1, 2008, to December 5, 2008, when it notified the Court of
the juror's misconduct. (1 T.R., 14th Day, 3, 22; 15th Day; 16th Day, 5; 17th
Day, 17; 18th Day, 3). The jury deliberated seven days.

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the Court's finding that the jury would be unable to reach a
verdict. On December 1, after the four-day recess, in response

to a note, the Court pointed out that they had deliberated only
three days where the trial lasted two weeks. (Exhibit C, Response
to Jury Note 16). The jury never again informed the Court that

it could not reach a decision. Rather, it is clear from the
jury's notes that it was carefully considering the evidence.

This Court's finding that the jury was unable to reach a
verdict based on the length of its deliberations was clearly
erroneous.

Additionally, the Court's belief that the jury was confused
is not supported by the record evidence. Contrary to the court's
statements, there is nothing in the record to suggest that the
jury was confused. Twice, the jury asked for definitions in
the charge. (Exhibit B, Jury Notes 6 and 10). The jury's
notes were notably articulate and well-written, addressed specific
concerns on matters of substance, and reflected an impressive
attention to detail. Given the number of telephone calls played
in the Spanish language, it is unsurprising that the jury asked
to rehear some of the intercepted calls, and narrowed its requests
to specific portions of specific calls. There is no basis in
the record for the Court's finding that the jury appeared to
be confused.
> Finally, there was no manifest necessity for declaring a

mistrial in-this case. "[T]rial judges may declare a mistrial

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‘whenever, in their opinion, taking all the circumstances into
consideration, there is a manifest necessity’ for doing so."

v. Perez, 22 U.S. (9 Wheat.) 579, 580 (1824). As stated in
Renico, "[t]Jhe decision to declare a mistrial is left to the
"sound discretion’ of the judge, but 'the power ought to be
used with the greatest caution, under urgent circumstances,

and for very plain and obviodus:cases.'"' Id. at 1863 (emphasis
added). A trial judge "must always temper the decision whether
or not to abort the trial by considering the importance to the
defendant of being able, once and for all, to conclude his

confrontation with society through the verdict of a tribunal he

might believe to be favorably disposed to his fate." United

 

States v. Jorn, 400 U.S. 470, 486 (1971); United States v.

 

Rivera, 384 F.3d 49, 56, 58 (3rd Cir. 2004)("Crucially, a
mistrial must not be declared without prudent consideration of
reasonable alternatives.").

In Petitioner's case, there was the viable alternative of
seating the alternate juror, who was present, an agreeable
alternative to both the government and two defense counsel.

There were no urgent circumstances, nor was it plain and obvious
that a mistrial was necessary.

Under the facts and circumstances of Petitioner's case, there
was no “manifest necessity" for the Court's decision to declare

a mistrial without his consent and counsel provided ineffective

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assistance when he failed to make a proper objection. This
being so, Petitioner's right to be free from former jeopardy
was violated, and his convictions must be vacated.
B. Counsel was ineffective for failing to file
a motion for recusal or other written objections
to the transfer order.

As noted above, at the time it declared a mistrial, the
Court sua sponte transferred the case to the Houston Division
for retrial. (1 T.R., 19th Day, 8). (Exhibit D). The Court
informed the parties that it had obtained the Houston Division's
consent to the transfer, and the case would be heard there by
another judge. Id., 14. The Court advised the parties that
it had been asked to take the case with him to Houston, but
it was not interested in trying a case for a month in Houston.
Id., 15. Counsel's request for a transfer to the Corpus Christi
Division, because three of the attorneys were from the Valley,
was denied. Id., 14-5.

The matter of the Court's decision to transfer the case to
the Houston Division for retrial was revisited at a status
conference held in McAllen on February 26, 2009. (Exhibit E).

Though the Court had not wanted to retry the case, and wanted a

Houston judge to hear it, that option was off the table. Id

=" ?

6.
Petitioner's counsel stated that he was going to file a

recusal motion. This was based on counsel's belief that the

Court was jury shopping. (Exhibit E at 5-6). The Court gave

counsel two weeks to file his motion. Id., 13. Counsel failed

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to file his motion.

This issue was raised on direct appeal and denied. In
its opinion the Fifth Circuit stated that the district court
gave the parties two weeks to file any additional motions.
"None of the Appellants filed a motion for recusal or other
written objections to the transfer order."' (Exhibit A at 6).
Petitioner submits that counsel provided ineffective assistance

when he failed to file his motion for recusal or other written

objections to the transfer order.

On direct appeal, counsel relied on United States v. Garza,

 

593 F.3d 385 (Sth Cir. 2010). But the Garza court held that
its holding "is limited to the rare instances where the district
judge orders a transfer, sua sponte and over a defendant's

objections, and fails to give due consideration to Rule 18
when those factors overwhelmingly advise against transfer."
(emphasis added). Petitioner lost this issue on direct appeal
because counsel failed to make a proper objection when given
the opportunity to do so.

This case is very similar to the Garza case. All the
defendants lived in the Rio Grande Valley. All of the
attorneys, other than Mr. Salazar, had their offices in the
Valley. The Court sat in the McAllen Division of the Southern
District. Nearly all of the many law enforcement witnesses
worked in the Valley. So, too, nearly all of the acts which

served as the basis of the charges occurred in the Valley.

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The driving distance between McAllen, Texas, and Houston, Texas,
is 347.5 miles, with an estimated driving time of 5 hours 17
minutes. See www.randmcnally.com/mileage-calculator.do.

Petitioner was the only one in the courtroom because his
family and friends were unable to attend based on the distance.
Petitioner's wife, parents, brother, or son did not attend the
trial because they could not drive that far every day. Counsel's
failure to make a proper objection and bring all of the above
to the Court's attention resulted in Petitioner receiving
ineffective assistance of counsel.

Based on all of the above, Petitioner's convictions should

be vacated.

C. Counsel was ineffective for failing to
negotiate a plea after the mistrial.

The right to effective assistance of counsel extends to the
plea-bargaining process during which all criminal defendants are
"entitled to the effective assistance of competent counsel."
Lafler v. Cooper, 132 S.Ct. 1376 (2012)(internal quotation marks
omitted); see also Missouri v. Frye, 132 S.Ct. 1399, 1407 (2012)
("In today's criminal justice system...the negotiation of a plea
bargain, rather than the unfolding of a trial, is almost always
the critical point for a defendant.").

The decision to plead guilty--first, last, and always--rests
with the defendant, not his lawyer. Although the attorney may
provide an opinion on the strength of the government's case,

the likelihood of a successful defense, and the wisdom of a

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chosen course of action, the ultimate decision of whether to go

to trial must be made by the person who will bear the ultimate
consequences of a conviction. Smith v. United States, 348 F.3d
545, 552 (6th Cir. 2003). "On the other hand, the attorney

has a clear obligation to fully inform her client of the available
options." Id. "The duty of defense counsel to consult is
paramount when a client has to decide whether or not to waive

a constitutional right, such as the right to trial." Miller v.
Straub, 299 F.3d 570, 580 (6th Cir. 2002).

Closely associated with the duty to inform the client of
available options is the attendant obligation of conducting
"reasonable investigations or [reaching] a reasonable decision
that makes particular investigations unnecessary." Strickland v.
Washington, 466 U.S. 668, 691 (1984). "Counsel cannot
responsibly advise a client about the merits of different courses
of action, [and] the client cannot make informed decisions...
unless counsel has first conducted a thorough investigation...."
Dickerson v Bagley, 453 F.3d 690, 694 (6th Cir. 2006) "{S]trategic
choices made after thorough investigations of law and facts
relevant to plausible options are virtually unchallengeable,"
but "strategic choices made after less than complete investigation
are reasonable precisely to the extent that reasonable
professional judgments support the limitations on investigation."
Strickland, 466 U.S. at 690-91. "It is not reasonable to

refuse to investigate when the investigator does not know the

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relevant facts the investigation will uncover." Dickerson, 453
F.3d at 696. If an attorney's "failure to investigate does not-
reflect sound professional judgment," deference to the attorney's
purported strategic choices is "not appropriate." Dando v.
Yukins, 461 F.3d 791, 799 (6th Cir. 2006).

In the present case, after the mistrial, Petitioner wanted

to enter into a plea bargain. (Exhibit F). This did not

happen because counsel did not contact his client between the

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reason counsel did not contact his client is because of the fee
arrangement. Counsel was waiting for Petitioner's family to
give him more money for the second trial. When that money

did not come quick enough, counsel moved to withdraw from
representating Petitioner. (Exhibit G). When counsel finally
got his money, the motion to withdraw was withdrawn. Id.
Petitioner finally seen his counsel on the morning of the trial
when the new jury was being picked. There was no time to consult
with his counsel at this point because counsel was busy picking
the jury. Thus, counsel did not make a reasonable investigation
or reach a reasonable decision that makes particular investigations
unnecessary. Strickland, supra. He did not consult with his
client or contact the prosecutor to discuss a plea bargain,
resulting in Petitioner receiving ineffective assistance. See
Hawkman v. Parratt, 661 F.2d 1161 (8th Cir. 1981)(While no duty

to initiate plea negotiations, the failure to do so may be

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deficient under circumstances of a particular case.)

Remedies for the deprivation of the Sixth Amendment right
to the effective assistance of counsel "should be tailored to
the injury suffered from the constitutional violation." United
States v. Morrison, 449 U.S. 361, 364 (1981); United States v.
Day, 969 F.2d 39, 47 (3rd Cir. 1992). Here, Petitioner should
be afforded the opportunity to renew pretrial bargaining, with

a new trial to result if negotiations fail. Commonwealth v.

 

Napper, 254 Pa. Super 54, 385 A.2d 521 (1978); Turner v.
Tennessee, 858 F.2d 1201 (6th Cir. 1988); Day, supra.

D. Counsel was ineffective when he gave Petitioner
incorrect information regarding an open plea.

Where counsel is aware that the evidence against a defendant
is "overwhelming" :and the defendant has advised him that he
will not cooperate, counsel's performance is deficient if he does
not advise defendant of the ‘option to plead without cooperation.

United States v. Booth, 432 F.3d 542, 549-50 (3rd Cir. 2005).

 

To establish prejudice, Petitioner "need not prove with
absolute certainty that he would have pleaded guilty, that the
district court would have approved the plea arrangement, and
that he therefore would have received a lesser sentence."
United States v. Day, 969 F.2d 39, 45 n. 8 (3rd Cir. 1992).
Moreover, "Strickland v. Washington, does not require certainty
or even a preponderance of the evidence that the outcome would
have been different with effective assistance of counsel; it

requires only ‘reasonable probability’ that that is the case.”

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Id. (quoting Strickland, 466 U.S. at 693-94). In this context,
to satisfy the prejudice inquiry, the defendant ‘must demonstrate
that, but for his...attorney's alleged ineffectiveness, he

would have likely received a lower sentence." Booth, 432 F.3d

at 547.

In Booth, the Court held that had defendant's counsel
informed him of the possibility of entering into an open plea,
defendant may have opted to plead guilty and "would have likely
received a three-level reduction for acceptance of responsibility.
[Defendant] was prejudiced because, by proceeding to trial and
becoming ineligible for the three-level adjustment for acceptance
of responsibility, he was exposed to an additional 19 to 30
months imprisonment." Id. at 548-49. Accordingly, the defendant
could demonstrate prejudice.« Id. at 549; accord Day, 969 F.2d
at 44; United States v. Day, 285 F.3d 1167, 1172 (9th Cir. 2002).
Also see United States v. Turner, 2007 U.S. Dist. LEXIS 37844
(N.D. Tex. May 23, 2007); United States v. Salazar-Lopez, 2007
U.S. App. LEXIS 25225 (9th Cir. Oct. 24, 2007); United States v.
Felix-Carrazco, 2007 U.S. Dist. LEXIS 39733 (Dist. of Idaho
May 31, 2007).

In this case, Petitioner's counsel advised him that he
would receive life if he entered a plea of guilty. This was
based on counsel's belief that his guideline offense level was
46, and a three-level reduction would bring it to level 43,

requiring a life sentence. This information was incorrect.

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